     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 1 of 17 Page ID #:130




 1     NICOLA T. HANNA
       United States Attorney
 2     DAVID M. HARRIS
       Assistant United States Attorney
 3     Chief, Civil Division
       JOANNE S. OSINOFF
 4     Assistant United States Attorney
       Chief, General Civil Section
 5     ALARICE M. MEDRANO (Cal. Bar No. 166730)
       Assistant United States Attorney
 6     MATTHEW J. BARRAGAN (Cal. Bar No. 283883)
       Assistant United States Attorney
 7           Federal Building, Suite 7516
             300 North Los Angeles Street
 8           Los Angeles, California 90012
             Telephone: (213) 894-2444
 9           Facsimile: (213) 894-7819
             E-mail: Matthew.Barragan@usdoj.gov
10
       Attorneys for Defendants
11     U.S. Immigration and Customs Enforcement
       and U.S. Department of Homeland Security
12
13                              UNITED STATES DISTRICT COURT
14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                   WESTERN DIVISION
16
       IMMIGRANT DEFENDERS LAW                    No. CV 19-02058 CAS (AGR)
17     CENTER, WESTERN STATE
       COLLEGE OF LAW IMMIGRATION                 DEFENDANTS’ ANSWER TO
18     CLINIC, PUBLIC COUNSEL, AND                PLAINTIFFS’ COMPLAINT
       ESPERANZA IMMIGRANT RIGHTS
19     PROJECT AT CATHOLIC                        Honorable Christina A. Snyder
       CHARITIES,
20
                  Plaintiffs,
21
                         v.
22
       UNITED STATES IMMIGRATION
23     AND CUSTOMS ENFORCEMENT
       AND UNITED STATES
24     DEPARTMENT OF HOMELAND
       SECURITY,
25
                  Defendants.
26
27
28
     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 2 of 17 Page ID #:131




 1           Defendants United States Immigration and Customs Enforcement (“ICE”) and
 2     United States Department of Homeland Security (“DHS”) (collectively, “Defendants”),
 3     by and through the undersigned counsel, hereby answer the allegations in the Complaint
 4     filed by Plaintiffs Immigrant Defenders Law Center, Western State College of Law
 5     Immigration Clinic, Public Counsel, and Esperanza Immigrant Rights Project at Catholic
 6     Charities (collectively, “Plaintiffs”) as follows:
 7                                         INTRODUCTION
 8           1.     The allegations contained in Paragraph 1 of the Complaint constitute
 9     Plaintiffs’ characterization of the nature of the action and the relief sought, to which no
10     response is required. To the extent a response is deemed required, Defendants admit that
11     this action purports to be brought under the Freedom of Information Act (“FOIA”), 5
12     U.S.C. § 552, and Defendants deny the remaining allegations.
13           2.     The allegations contained in Paragraph 2 of the Complaint do not set forth a
14     claim for relief or aver facts in support of a claim to which a response is required. To the
15     extent a response is deemed required, Defendants lack knowledge or information
16     sufficient to form a belief about the truth of the allegations contained in Paragraph 2 of
17     the Complaint and on that basis deny them.
18           3.     The allegations contained in Paragraph 3 of the Complaint do not set forth a
19     claim for relief or aver facts in support of a claim to which a response is required. To the
20     extent a response is deemed required, Defendants deny the allegations.
21           4.     The allegations contained in Paragraph 4 of the Complaint consist of
22     Plaintiffs’ characterization of their FOIA request, to which no response is required. To
23     the extent that a response is required, Defendants admit that Plaintiffs filed a FOIA
24     request with Defendant ICE and respectfully refers the Court to Plaintiffs’ FOIA request
25     for its accurate content and attached to the Complaint as Exhibit A. Defendants deny the
26     remaining allegations in this paragraph.
27           5.     The allegations contained in Paragraph 5 of the Complaint constitute legal
28     conclusions, to which no response is required. To the extent a response is deemed
                                                     2
     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 3 of 17 Page ID #:132




 1     required, Defendants deny the allegations in this paragraph.
 2           6.     The allegations contained in Paragraph 6 of the Complaint consist of legal
 3     conclusions, Plaintiffs’ characterizations of the relief sought, and their reasons for
 4     bringing this FOIA action, to which no response is required. To the extent a response is
 5     deemed required, Defendants deny the allegations in this paragraph.
 6                                  JURISDICTION AND VENUE
 7           7.     Admit.
 8           8.     Admit.
 9                                              PARTIES
10           9.     Admit.
11           10.    The allegations contained in Paragraph 10 of the Complaint consist of
12     Plaintiff’s, Immigrant Defenders Law Center, characterization of itself, to which no
13     response is required. To the extent that a response is required, Defendants lack
14     knowledge or information sufficient to form a belief about the truth of the allegations
15     contained in Paragraph 10 of the Complaint and on that basis deny them.
16           11.    The allegations contained in Paragraph 11 of the Complaint consist of
17     Plaintiff’s, the Western State College of Law Immigration Clinic, characterization of
18     itself, to which no response is required. To the extent that a response is required,
19     Defendants lack knowledge or information sufficient to form a belief about the truth of
20     the allegations contained in Paragraph 11 of the Complaint and on that basis deny them.
21           12.    The allegations contained in Paragraph 12 of the Complaint consist of
22     Plaintiff’s, Public Counsel, characterization of itself, to which no response is required.
23     To the extent that a response is required, Defendants lack knowledge or information
24     sufficient to form a belief about the truth of the allegations contained in Paragraph 12 of
25     the Complaint and on that basis deny them.
26           13.    The allegations contained in Paragraph 13 of the Complaint consist of
27     Plaintiff’s, Esperanza Immigrant Rights Project, characterization of itself, to which no
28     response is required. To the extent that a response is required, Defendants lack
                                                     3
     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 4 of 17 Page ID #:133




 1     knowledge or information sufficient to form a belief about the truth of the allegations
 2     contained in Paragraph 13 of the Complaint and on that basis deny them.
 3           14.    Defendants admit that DHS is a federal agency within the meaning of 5
 4     U.S.C. § 552(f)(1). Defendants deny all remaining allegations contained in Paragraph 14
 5     of the Complaint.
 6           15.    Defendants admit that ICE is a federal agency and component of DHS.
 7     Defendants deny all remaining allegations contained in Paragraph 15 of the Complaint.
 8                                    LEGAL FRAMEWORK
 9           16.    The allegations contained in Paragraph 16 of the Complaint constitute legal
10     conclusions, to which no response is required. To the extent a response is deemed
11     required, Defendants aver that FOIA speaks for itself.
12           17.    The allegations contained in Paragraph 17 of the Complaint constitute legal
13     conclusions, to which no response is required. To the extent a response is deemed
14     required, Defendants aver that FOIA speaks for itself.
15           18.    The allegations contained in Paragraph 18 of the Complaint constitute legal
16     conclusions, to which no response is required. To the extent a response is deemed
17     required, Defendants aver that FOIA speaks for itself.
18           19.    The allegations contained in Paragraph 19 of the Complaint constitute legal
19     conclusions, to which no response is required. To the extent a response is deemed
20     required, Defendants aver that FOIA speaks for itself.
21           20.    The allegations contained in Paragraph 20 of the Complaint constitute legal
22     conclusions, to which no response is required. To the extent a response is deemed
23     required, Defendants aver that FOIA speaks for itself.
24           21.    The allegations contained in Paragraph 21 of the Complaint constitute legal
25     conclusions, to which no response is required. To the extent a response is deemed
26     required, Defendants aver that FOIA speaks for itself.
27     ///
28     ///
                                                   4
     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 5 of 17 Page ID #:134




 1                                   FACTUAL ALLEGATIONS
 2                                            Background
 3           22.    The allegations contained in Paragraph 22 of the Complaint do not set forth
 4     a claim for relief or aver facts in support of a claim to which a response is required. To
 5     the extent a response is deemed required, Defendants deny the allegations.
 6           23.    The allegations contained in Paragraph 23 of the Complaint do not set forth
 7     a claim for relief or aver facts in support of a claim to which a response is required. To
 8     the extent a response is deemed required, Defendants deny the allegations.
 9           24.    The allegations contained in Paragraph 24 of the Complaint do not set forth
10     a claim for relief or aver facts in support of a claim to which a response is required. To
11     the extent a response is deemed required, Defendants lack knowledge or information
12     sufficient to form a belief about the truth of the allegations contained in Paragraph 24 of
13     the Complaint and on that basis deny them.
14           25.    The allegations contained in Paragraph 25 of the Complaint do not set forth
15     a claim for relief or aver facts in support of a claim to which a response is required. To
16     the extent a response is deemed required, Defendants lack knowledge or information
17     sufficient to form a belief about the truth of the allegations contained in Paragraph 25 of
18     the Complaint and on that basis deny them.
19           26.    The allegations contained in Paragraph 26 of the Complaint do not set forth
20     a claim for relief or aver facts in support of a claim to which a response is required. To
21     the extent a response is deemed required, Defendants lack knowledge or information
22     sufficient to form a belief about the truth of the allegations contained in Paragraph 26 of
23     the Complaint and on that basis deny them.
24           27.    The allegations contained in Paragraph 27 of the Complaint do not set forth
25     a claim for relief or aver facts in support of a claim to which a response is required. To
26     the extent a response is deemed required, Defendants lack knowledge or information
27     sufficient to form a belief about the truth of the allegations contained in Paragraph 27 of
28     the Complaint and on that basis deny them.
                                                    5
     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 6 of 17 Page ID #:135




 1                             Collaboration Between ICE and UPRP
 2           28.    The allegations contained in Paragraph 28 of the Complaint do not set forth
 3     a claim for relief or aver facts in support of a claim to which a response is required. To
 4     the extent a response is deemed required, Defendants deny the allegations.
 5     A.    January 2018: El Monte
 6           29.    The allegations contained in Paragraph 29 of the Complaint do not set forth
 7     a claim for relief or aver facts in support of a claim to which a response is required. To
 8     the extent a response is deemed required, Defendants lack knowledge or information
 9     sufficient to form a belief about the truth of the allegations contained in Paragraph 29 of
10     the Complaint and on that basis deny them.
11           30.    The allegations contained in Paragraph 30 of the Complaint do not set forth
12     a claim for relief or aver facts in support of a claim to which a response is required. To
13     the extent a response is deemed required, Defendants lack knowledge or information
14     sufficient to form a belief about the truth of the allegations contained in Paragraph 30 of
15     the Complaint and on that basis deny them.
16           31.    The allegations contained in Paragraph 31 of the Complaint do not set forth
17     a claim for relief or aver facts in support of a claim to which a response is required. To
18     the extent a response is deemed required, Defendants lack knowledge or information
19     sufficient to form a belief about the truth of the allegations contained in Paragraph 31 of
20     the Complaint and on that basis deny them.
21           32.    The allegations contained in Paragraph 32 of the Complaint do not set forth
22     a claim for relief or aver facts in support of a claim to which a response is required. To
23     the extent a response is deemed required, Defendants lack knowledge or information
24     sufficient to form a belief about the truth of the allegations contained in Paragraph 32 of
25     the Complaint and on that basis deny them.
26           33.    The allegations contained in Paragraph 33 of the Complaint do not set forth
27     a claim for relief or aver facts in support of a claim to which a response is required. To
28     the extent a response is deemed required, Defendants lack knowledge or information
                                                    6
     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 7 of 17 Page ID #:136




 1     sufficient to form a belief about the truth of the allegations contained in Paragraph 33 of
 2     the Complaint and on that basis deny them.
 3           34.    The allegations contained in Paragraph 34 of the Complaint do not set forth
 4     a claim for relief or aver facts in support of a claim to which a response is required. To
 5     the extent a response is deemed required, Defendants lack knowledge or information
 6     sufficient to form a belief about the truth of the allegations contained in Paragraph 34 of
 7     the Complaint and on that basis deny them.
 8           35.    The allegations contained in Paragraph 35 of the Complaint do not set forth
 9     a claim for relief or aver facts in support of a claim to which a response is required. To
10     the extent a response is deemed required, Defendants lack knowledge or information
11     sufficient to form a belief about the truth of the allegations contained in Paragraph 35 of
12     the Complaint and on that basis deny them.
13           36.    The allegations contained in Paragraph 36 of the Complaint do not set forth
14     a claim for relief or aver facts in support of a claim to which a response is required. To
15     the extent a response is deemed required, Defendants lack knowledge or information
16     sufficient to form a belief about the truth of the allegations contained in Paragraph 36 of
17     the Complaint and on that basis deny them.
18     B.    January 2018: Santa Ana
19           37.    The allegations contained in Paragraph 37 of the Complaint do not set forth
20     a claim for relief or aver facts in support of a claim to which a response is required. To
21     the extent a response is deemed required, Defendants lack knowledge or information
22     sufficient to form a belief about the truth of the allegations contained in Paragraph 37 of
23     the Complaint and on that basis deny them.
24           38.    The allegations contained in Paragraph 38 of the Complaint do not set forth
25     a claim for relief or aver facts in support of a claim to which a response is required. To
26     the extent a response is deemed required, Defendants lack knowledge or information
27     sufficient to form a belief about the truth of the allegations contained in Paragraph 38 of
28     the Complaint and on that basis deny them.
                                                    7
     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 8 of 17 Page ID #:137




 1     C.    February 2018: Van Nuys
 2           39.    The allegations contained in Paragraph 39 of the Complaint do not set forth
 3     a claim for relief or aver facts in support of a claim to which a response is required. To
 4     the extent a response is deemed required, Defendants lack knowledge or information
 5     sufficient to form a belief about the truth of the allegations contained in Paragraph 39 of
 6     the Complaint and on that basis deny them.
 7           40.    The allegations contained in Paragraph 40 of the Complaint do not set forth
 8     a claim for relief or aver facts in support of a claim to which a response is required. To
 9     the extent a response is deemed required, Defendants lack knowledge or information
10     sufficient to form a belief about the truth of the allegations contained in Paragraph 40 of
11     the Complaint and on that basis deny them.
12           41.    The allegations contained in Paragraph 41 of the Complaint do not set forth
13     a claim for relief or aver facts in support of a claim to which a response is required. To
14     the extent a response is deemed required, Defendants lack knowledge or information
15     sufficient to form a belief about the truth of the allegations contained in Paragraph 41 of
16     the Complaint and on that basis deny them.
17           42.    The allegations contained in Paragraph 42 of the Complaint do not set forth
18     a claim for relief or aver facts in support of a claim to which a response is required. To
19     the extent a response is deemed required, Defendants lack knowledge or information
20     sufficient to form a belief about the truth of the allegations contained in Paragraph 42 of
21     the Complaint and on that basis deny them.
22           43.    The allegations contained in Paragraph 43 of the Complaint do not set forth
23     a claim for relief or aver facts in support of a claim to which a response is required. To
24     the extent a response is deemed required, Defendants lack knowledge or information
25     sufficient to form a belief about the truth of the allegations contained in Paragraph 43 of
26     the Complaint and on that basis deny them.
27           44.    The allegations contained in Paragraph 44 of the Complaint do not set forth
28     a claim for relief or aver facts in support of a claim to which a response is required. To
                                                    8
     Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 9 of 17 Page ID #:138




 1     the extent a response is deemed required, Defendants lack knowledge or information
 2     sufficient to form a belief about the truth of the allegations contained in Paragraph 44 of
 3     the Complaint and on that basis deny them.
 4           45.    The allegations contained in Paragraph 45 of the Complaint do not set forth
 5     a claim for relief or aver facts in support of a claim to which a response is required. To
 6     the extent a response is deemed required, Defendants lack knowledge or information
 7     sufficient to form a belief about the truth of the allegations contained in Paragraph 45 of
 8     the Complaint and on that basis deny them.
 9     D.    May 2018: North Hollywood
10           46.    The allegations contained in Paragraph 46 of the Complaint do not set forth
11     a claim for relief or aver facts in support of a claim to which a response is required. To
12     the extent a response is deemed required, Defendants lack knowledge or information
13     sufficient to form a belief about the truth of the allegations contained in Paragraph 46 of
14     the Complaint and on that basis deny them.
15           47.    The allegations contained in Paragraph 47 of the Complaint do not set forth
16     a claim for relief or aver facts in support of a claim to which a response is required. To
17     the extent a response is deemed required, Defendants lack knowledge or information
18     sufficient to form a belief about the truth of the allegations contained in Paragraph 47 of
19     the Complaint and on that basis deny them.
20     E.    July 2018: Pacoima
21           48.    The allegations contained in Paragraph 48 of the Complaint do not set forth
22     a claim for relief or aver facts in support of a claim to which a response is required. To
23     the extent a response is deemed required, Defendants lack knowledge or information
24     sufficient to form a belief about the truth of the allegations contained in Paragraph 48 of
25     the Complaint and on that basis deny them.
26           49.    The allegations contained in Paragraph 49 of the Complaint do not set forth
27     a claim for relief or aver facts in support of a claim to which a response is required. To
28     the extent a response is deemed required, Defendants lack knowledge or information
                                                    9
 Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 10 of 17 Page ID #:139




 1   sufficient to form a belief about the truth of the allegations contained in Paragraph 49 of
 2   the Complaint and on that basis deny them.
 3   F.    August 2018: Whittier
 4         50.    The allegations contained in Paragraph 50 of the Complaint do not set forth
 5   a claim for relief or aver facts in support of a claim to which a response is required. To
 6   the extent a response is deemed required, Defendants lack knowledge or information
 7   sufficient to form a belief about the truth of the allegations contained in Paragraph 50 of
 8   the Complaint and on that basis deny them.
 9         51.    The allegations contained in Paragraph 51 of the Complaint do not set forth
10   a claim for relief or aver facts in support of a claim to which a response is required. To
11   the extent a response is deemed required, Defendants lack knowledge or information
12   sufficient to form a belief about the truth of the allegations contained in Paragraph 51 of
13   the Complaint and on that basis deny them.
14                            Plaintiffs’ FOIA Request and Appeal
15         52.    Defendants admit that Professor Jennifer Koh submitted a FOIA request to
16   ICE on September 7, 2018, and respectfully refer the Court to the FOIA request for a
17   complete and accurate description of its contents. As admitted above in Paragraph 4,
18   Plaintiffs’ FOIA request is attached to the Complaint as Exhibit A. To the extent that
19   Plaintiffs’ characterization of the content of Exhibit A is inconsistent with Exhibit A,
20   Defendants deny the allegations. Any allegations in Paragraph 52 of the Complaint not
21   specifically admitted are denied.
22         53.    Defendants admit that Plaintiffs submitted a FOIA request to Defendants on
23   September 7, 2018 and respectfully refer the Court to the FOIA request for a complete
24   and accurate description of its contents. As admitted above in Paragraph 4, Plaintiffs’
25   FOIA request is attached to the Complaint as Exhibit A. To the extent that Plaintiffs’
26   characterization of the content of Exhibit A is inconsistent with Exhibit A, Defendants
27   deny the allegations. Any allegations in Paragraph 53 of the Complaint not specifically
28   admitted are denied.
                                                  10
 Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 11 of 17 Page ID #:140




 1         54.    Defendants admit that Plaintiffs submitted a FOIA request to Defendants on
 2   September 7, 2018 and respectfully refer the Court to the FOIA request for a complete
 3   and accurate description of its contents. As admitted above in Paragraph 4, Plaintiffs’
 4   FOIA request is attached to the Complaint as Exhibit A. To the extent that Plaintiffs’
 5   characterization of the content of Exhibit A is inconsistent with Exhibit A, Defendants
 6   deny the allegations. Any allegations in Paragraph 54 of the Complaint not specifically
 7   admitted are denied.
 8         55.    Defendants admit that ICE’s e-mail to Professor Koh acknowledging receipt
 9   of Plaintiffs’ FOIA request, dated September 8, 2018, is attached to the Complaint as
10   Exhibit B and respectfully refer the Court to Exhibit B for a complete and accurate
11   description of its contents. To the extent that Plaintiffs’ characterization of the content
12   of Exhibit B is inconsistent with Exhibit B, Defendants deny the allegations. Any
13   allegations in Paragraph 55 of the Complaint not specifically admitted are denied.
14         56.    Defendants admit that ICE’s e-mail to Professor Koh, dated September 18,
15   2018, is attached to the Complaint as Exhibit C and respectfully refer the Court to
16   Exhibit C for a complete and accurate description of its contents. To the extent
17   Plaintiffs’ characterization of the content of Exhibit C is inconsistent with Exhibit C,
18   Defendants deny the allegations. Any allegations in Paragraph 56 of the Complaint not
19   specifically admitted are denied.
20         57.    Defendants admit that Professor Koh’s e-mail response to ICE, dated
21   September 24, 2018, is attached to the Complaint as Exhibit C and respectfully refer the
22   Court to Exhibit C for a complete and accurate description of its contents. To the extent
23   Plaintiffs’ characterization of the content of Exhibit C is inconsistent with Exhibit C,
24   Defendants deny the allegations. Any allegations in Paragraph 57 of the Complaint not
25   specifically admitted are denied.
26         58.    Defendants admit that Professor Koh’s appeal, dated October 16, 2018, is
27   attached to the Complaint as Exhibit D and respectfully refer the Court to Exhibit D for a
28   complete and accurate description of its contents. To the extent Plaintiffs’
                                                  11
 Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 12 of 17 Page ID #:141




 1   characterization of the content of Exhibit D is inconsistent with Exhibit D, Defendants
 2   deny the allegations. Any allegations in Paragraph 58 of the Complaint not specifically
 3   admitted are denied.
 4         59.    Defendants admit that ICE’s final response to Plaintiff’ FOIA request, dated
 5   October 25, 2018, is attached to the Complaint as Exhibit E and respectfully refer the
 6   Court to Exhibit E for a complete and accurate description of its contents. To the extent
 7   Plaintiffs’ characterization of the content of Exhibit E is inconsistent with Exhibit E,
 8   Defendants deny the allegations. Any allegations in Paragraph 59 of the Complaint not
 9   specifically admitted are denied.
10         60.    Defendants admit that ICE’s letter to Professor Koh acknowledging receipt
11   of Plaintiffs’ appeal, dated October 26, 2018, is attached to the Complaint as Exhibit F
12   and respectfully refer the Court to Exhibit F for a complete and accurate description of
13   its contents. Defendants further admit that ICE’s final response to Plaintiffs’ appeal,
14   dated November 14, 2018, is attached to the Complaint as Exhibit G. Defendants aver
15   that the documents speak for themselves. To the extent Plaintiffs’ characterization of the
16   content of Exhibits F and G is inconsistent with Exhibits F and G, respectively,
17   Defendants deny the allegations. Any allegations in Paragraph 60 of the Complaint not
18   specifically admitted are denied.
19         61.    Defendants admit that Professor Koh’s appeal, dated November 5, 2018, is
20   attached to the Complaint as Exhibit H and respectfully refer the Court to Exhibit H for a
21   complete and accurate description of its contents. Defendants aver that the document
22   speaks for itself. To the extent Plaintiffs’ characterization of the content of Exhibit H is
23   inconsistent with Exhibit H, Defendants deny the allegations. Any allegations in
24   Paragraph 61 of the Complaint not specifically admitted are denied.
25         62.    Responding to Paragraph 62 of the Complaint, Defendants admit that
26   Professor Koh’s appeal, dated November 5, 2018, is attached to the Complaint as Exhibit
27   H and respectfully refer the Court to Exhibit H for a complete and accurate description
28   of its contents. Defendants aver that the document speaks for itself. To the extent
                                                  12
 Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 13 of 17 Page ID #:142




 1   Plaintiffs’ characterization of the content of Exhibit H is inconsistent with Exhibit H,
 2   Defendants deny the allegations. Any allegations in Paragraph 62 of the Complaint not
 3   specifically admitted are denied.
 4          63.      The allegations contained in Paragraph 63 constitute legal conclusions to
 5   which no response is required. To the extent a response is deemed required, Defendants
 6   deny all of the allegations therein.
 7                            FOIA FIRST CAUSE OF ACTION
                             Violation Of 5 U.S.C. § 552(a)(3) For
 8
                Failure To Conduct An Adequate Search For Responsive Records
 9
            64.      Defendants incorporate by reference their responses to the paragraphs above
10
     as if fully stated here.
11
            65.      Defendants admit that ICE received a FOIA request from Plaintiffs dated
12
     September 7, 2018, and respectfully refer the Court to the letter for a complete and
13
     accurate description of its contents.
14
            66.      Defendants admit that Plaintiffs sent ICE an e-mail on September 24, 2018,
15
     and respectfully refer the Court to the e-mail for a complete and accurate description of
16
     its contents.
17
            67.      Admit.
18
            68.      The allegations contained in Paragraph 68 constitute legal conclusions and
19
     Plaintiffs’ characterization of the nature of the action, to which no response is required.
20
     To the extent a response is deemed required, Defendants deny all of the allegations
21
     therein.
22
            69.      Defendant ICE lacks knowledge or information sufficient to form a belief
23
     about the truth of the allegations contained in Paragraph 69 of the Complaint and on that
24
     basis denies them, and denies that ICE failed to produce documents without justification.
25
            70.      Deny.
26
            71.      The allegations contained in Paragraph 71 constitute legal conclusions and
27
     Plaintiffs’ characterization of the nature of the action, to which no response is required.
28
                                                   13
 Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 14 of 17 Page ID #:143




 1   To the extent a response is deemed required, Defendants deny all of the allegations
 2   therein.
 3          72.    The allegations contained in Paragraph 72 of the Complaint constitute legal
 4   conclusions, to which no response is required. To the extent a response is deemed
 5   required, Defendants aver that FOIA speaks for itself.
 6                               SECOND CAUSE OF ACTION
                            Violation Of 5 U.S.C. § 552(a)(6)(A)(ii) For
 7
                           Failure To Comply With Statutory Deadlines
 8
            73.    Defendants incorporate by reference their responses to the paragraphs above
 9
     as if fully stated here.
10
            74.    Defendants admit that ICE received a FOIA request from Plaintiffs dated
11
     September 7, 2018, and respectfully refer the Court to the letter for a complete and
12
     accurate description of its contents. Defendants further admit that by letter dated
13
     October 26, 2018, it responded to Plaintiff’s FOIA request, and respectfully refer the
14
     Court to the letter for a complete and accurate description of its contents.
15
            75.    Defendants admit that Plaintiffs sent ICE an appeal by e-mail on November
16
     5, 2018, and respectfully refer the Court to the e-mail for a complete and accurate
17
     description of its contents. The remainder of Paragraph 75 consists of Plaintiff’s legal
18
     conclusions to which no response is required. To the extent a response is deemed
19
     required, Defendants aver that FOIA speaks for itself.
20
            76.    The allegations contained in Paragraph 76 of the Complaint constitute legal
21
     conclusions, to which no response is required. To the extent a response is deemed
22
     required, Defendants aver that FOIA speaks for itself.
23
            77.    Defendants admit that, as of the filing date of this Complaint, it has not
24
     provided documents in response to Plaintiffs’ request. Defendants deny the remaining
25
     allegation in Paragraph 77.
26
            78.    Deny.
27
            79.    The allegations contained in Paragraph 79 constitute legal conclusions to
28
                                                  14
 Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 15 of 17 Page ID #:144




 1   which no response is required. To the extent a response is deemed required, Defendants
 2   deny all of the allegations therein.
 3          80.    The allegations contained in Paragraph 80 of the Complaint constitute legal
 4   conclusions, to which no response is required. To the extent a response is deemed
 5   required, Defendants aver that FOIA speaks for itself.
 6                                 THIRD CAUSE OF ACTION
                            Violation Of 5 U.S.C. § 552(a)(4)(A)(iii) For
 7
                                 Failure To Grant Waiver of Fees
 8
            81.    Defendants incorporate by reference their responses to the paragraphs above
 9
     as if fully stated here.
10
            82.    Defendants admit that ICE received a FOIA request from Plaintiffs dated
11
     September 7, 2018, and respectfully refer the Court to the letter for a complete and
12
     accurate description of its contents. Defendants deny the remaining allegations
13
     contained in Paragraph 82 of the Complaint.
14
            83.    Defendants admit that ICE received a FOIA request from Plaintiffs dated
15
     September 7, 2018, and respectfully refer the Court to the letter for a complete and
16
     accurate description of its contents. Defendants deny the remaining allegations
17
     contained in Paragraph 83 of the Complaint.
18
            84.    Defendants admit that by e-mail on September 8, 2018, it acknowledged
19
     Plaintiff’s FOIA request, and respectfully refer the Court to the letter for a complete and
20
     accurate description of its contents.
21
            85.    The allegations contained in Paragraph 85 of the Complaint consist of
22
     Plaintiffs’ reasons for bringing this FOIA action, to which no response is required. To
23
     the extent a response is deemed required, Defendants lack knowledge or information
24
     sufficient to form a belief about the truth of the allegations contained in Paragraph 85 of
25
     the Complaint and on that basis deny them.
26
            86.    The allegations contained in Paragraph 86 constitute legal conclusions to
27
     which no response is required. To the extent a response is deemed required, Defendants
28
                                                  15
 Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 16 of 17 Page ID #:145




 1   deny all of the allegations therein.
 2                                   REQUEST FOR RELIEF1
 3         The remainder of the Complaint consists of Plaintiffs’ Prayer for Relief, to which
 4   no response is required. To the extent a response is deemed required, the allegations of
 5   the prayer for relief are denied. Plaintiffs are not entitled to any relief.
 6         Any allegation contained in Plaintiffs’ Complaint that has not been admitted or
 7   denied is hereby denied.
 8                                  AFFIRMATIVE DEFENSES
 9                              FIRST AFFIRMATIVE DEFENSE
10         The Complaint fails to state a claim upon which relief can be granted.
11                             SECOND AFFIRMATIVE DEFENSE
12         The Complaint purports to impose obligations upon Defendants that exceed those
13   imposed by FOIA.
14                              THIRD AFFIRMATIVE DEFENSE
15         Plaintiffs are not entitled to compel the production of records that are exempt from
16   disclosure under FOIA or under other provisions of law, or to compel the production of
17   records that are not subject to FOIA.
18                            FOURTH AFFIRMATIVE DEFENSE
19         Defendants are not improperly withholding any responsive documents.
20                              FIFTH AFFIRMATIVE DEFENSE
21         At all times alleged in the Complaint, Defendants acted in good faith, with
22   justification, and pursuant to lawful authority.
23   ///
24   ///
25
26         1
             For ease of reference, Defendants’ Answer generally replicates the headings
27   contained in the Complaint. Although Defendants believe that no response is required to
     such headings, to the extent a response is deemed required and to the extent those
28   headings and titles may be construed to contain factual allegations, those allegations are
     denied.
                                                 16
 Case 2:19-cv-02058-CAS-AGR Document 20 Filed 07/22/19 Page 17 of 17 Page ID #:146




 1         WHEREFORE, Defendants pray for judgment dismissing Plaintiffs’ Complaint,
 2   and awarding Defendants their costs and disbursements in this action, and for such other
 3   and further relief as the Court may deem just and proper.
 4
 5    Dated: July 22, 2019                 NICOLA T. HANNA
                                           United States Attorney
 6                                         DAVID M. HARRIS
                                           Assistant United States Attorney
 7                                         Chief, Civil Division
                                           JOANNE S. OSINOFF
 8                                         Assistant United States Attorney
                                           Chief, General Civil Section
 9
10
                                            /s/ Matthew J. Barragan
11                                         MATTHEW J. BARRAGAN
                                           Assistant United States Attorney
12
                                           Attorneys for Defendants
13                                         U.S. Immigration and Customs Enforcement
                                           and U.S. Department of Homeland Security
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                17
